          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                                CIVIL NO. 1:06CV373
                                    (1:02CR105)


MICHAEL A. JENKINS,                         )
                                            )
                   Petitioner,              )
                                            )
            Vs.                             )           ORDER
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                   Respondent.              )
                                            )


      THIS MATTER is before the Court on the Petitioner's request for a

certificate of appealability.

      An appeal may not be taken to the court of appeals from the denial of

a motion pursuant to 28 U.S.C. § 2255 unless a certificate of appealability

has been issued. 28 U.S.C. § 2253(c)(1)(B). Such a certificate may not

issue unless the applicant has made a substantial showing of the denial of

a constitutional right. 28 U.S.C. § 2253(c)(2). The Petitioner has not made

such a showing.

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion for a

certificate of appealability is hereby DENIED.


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                                Signed: July 6, 2007




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